     Case 1:23-cv-01228-ADA-CDB Document 16 Filed 08/28/23 Page 1 of 3


 1   DANIEL M. ORTNER (California State Bar No. 329866)
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 2   FOUNDATION FOR INDIVIDUAL RIGHTS AND EXPRESSION
 3   510 Walnut Street, Suite 1250
     Philadelphia, PA 19106
 4   Telephone: (215) 717-3473
     Counsel for Plaintiffs
 5
                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF CALIFORNIA
 7                                FRESNO DISTRICT

 8

 9
10                                                       Civil Action No.:
     LOREN PALSGAARD, ET AL.,                        1:23-cv-01228-ADA-CDB
11
                   Plaintiffs,
12
           v.                                      NOTICE OF VOLUNTARY
13                                                DISMISSAL OF DEFENDANT
     SONYA CHRISTIAN, ET AL.,                   GERARDO REYES UNDER FED. R.
14                                                   CIV. PRO. 41(a)(1)(A)(i)
                   Defendants.
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                                                 Judge: The Honorable Ana de Alba
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                NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT GERARDO REYES
     Case 1:23-cv-01228-ADA-CDB Document 16 Filed 08/28/23 Page 2 of 3


 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs voluntarily dismiss
 2   the above-titled action without prejudice against Defendant Gerardo Reyes.
 3
 4   Dated: August 28, 2023
 5
     Respectfully submitted,
 6
 7   /s/ Daniel M. Ortner_
     DANIEL M. ORTNER (California State Bar No. 329866)
 8   daniel.ortner@thefire.org
     FOUNDATION FOR INDIVIDUAL RIGHTS AND EXPRESSION
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11   Counsel for Plaintiffs

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                  NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT GERARDO REYES
     Case 1:23-cv-01228-ADA-CDB Document 16 Filed 08/28/23 Page 3 of 3


 1                                   CERTIFICATE OF SERVICE
 2          I, Daniel M. Ortner, hereby certify that on August 28, 2023, I submitted the foregoing to
 3
     the Clerk of the Court via the District Court’s CM/ECF system. Notice of this filing will be sent
 4
     by operation of the Court’s electronic filing system to counsel for the State Defendants and they
 5
     may access this filing through the Court’s electronic filing system. This document will be served
 6
 7   via email to Kirsten Corey (kirsten.corey@scccd.edu) the General Counsel of State College

 8   Community College District who is authorized and has agreed to accept service on behalf of the

 9   District Defendants.
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11                                                /s/ Daniel M. Ortner
                                                  DANIEL M. ORTNER
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                   NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT GERARDO REYES
